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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA
                                NEW ORLEANS DIVISION

IN RE: FEMA TRAILER                                        MDL NO. 1873
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION                               SECTION “N-5"

                                                           JUDGE ENGELHARDT
                                                           MAG. JUDGE CHASEZ

THIS DOCUMENT IS RELATED TO:
Buford, et al. v. Alliance Homes, Inc., et al.,
EDLA Case No. 09- 6005

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            SUPPLEMENTAL EXHIBIT “A” TO PLAINTIFFS’ COMPLAINT
                   PURSUANT TO PRETRIAL ORDER NO. 53

       In compliance with Pretrial order 53 (Rec. Doc. 9073), plaintiffs hereby file their

Supplemental Exhibit “A” to their Complaint to match the plaintiffs to their correct

Manufacturer Defendants and Contractor/Installer Defendants.


       In addition to the information previously submitted, plaintiffs attach hereto a

Supplemental Exhibit “A” and incorporate same by reference herein.


                                      Respectfully submitted:

                                      FEMA TRAILER FORMALDEHYDE
                                      PRODUCT LIABILITY LITIGATION

                                      BY:     s/Gerald E. Meunier
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                                                      s/Justin I. Woods
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                                                      COURT-APPOINTED PLAINTIFFS’
                                                      STEERING COMMITTEE
                                                      ANTHONY BUZBEE, Texas # 24001820
                                                      ROBERT BECNEL, #14072
                                                      RAUL BENCOMO, #2932
                                                      FRANK D’AMICO, #17519
                                                      MATT MORELAND, #24567
                                                      LINDA NELSON, #9938
                                                      DENNIS REICH, Texas #16739600
                                                      MIKAL WATTS, Texas # 20981820




                                          CERTIFICATE OF SERVICE

         I hereby certify that on June 18, 2010, I electronically filed the foregoing with the Clerk of Court by using

the CM/ECF system which will send a notice of electronic filing to all counsel of record who are CM/ECF

participants. I further certify that I mailed the foregoing document and the notice of electronic filing by first-class

mail to all counsel of record who are non-CM/ECF participants.

                                                      s/Gerald E. Meunier
                                                      GERALD E. MEUNIER, #9471
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                            UNITED STATES DISTRICT COURT
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                                SUPPLEMENTAL EXHIBIT A


Donna Buford -                 Gulf Stream Coach, Inc.; Fluor Enterprises, Inc.

Desmond Lewis -                Fleetwood Enterprises, Inc.; Shaw Environmental, Inc.

Gregory West -                 After due diligence, manufacturer and contractor unknown

Barry Dominguez -              DS Corp. d/b/a Crossroads RV; Fluor Enterprises, Inc.

Beverly Collins -              Jayco Enterprises, Inc.; Shaw Environmental, Inc.
